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Case: 3:17-cv-50107 Document #: 826-18 Filed: 05/26/23 Page 2 of 31 PageID #:36578
Case: 3:17-cv-50107 Document #: 826-18 Filed: 05/26/23 Page 3 of 31 PageID #:36579
Case: 3:17-cv-50107 Document #: 826-18 Filed: 05/26/23 Page 4 of 31 PageID #:36580
Case: 3:17-cv-50107 Document #: 826-18 Filed: 05/26/23 Page 5 of 31 PageID #:36581
Case: 3:17-cv-50107 Document #: 826-18 Filed: 05/26/23 Page 6 of 31 PageID #:36582
Case: 3:17-cv-50107 Document #: 826-18 Filed: 05/26/23 Page 7 of 31 PageID #:36583
Case: 3:17-cv-50107 Document #: 826-18 Filed: 05/26/23 Page 8 of 31 PageID #:36584
Case: 3:17-cv-50107 Document #: 826-18 Filed: 05/26/23 Page 9 of 31 PageID #:36585
Case: 3:17-cv-50107 Document #: 826-18 Filed: 05/26/23 Page 10 of 31 PageID #:36586
Case: 3:17-cv-50107 Document #: 826-18 Filed: 05/26/23 Page 11 of 31 PageID #:36587
Case: 3:17-cv-50107 Document #: 826-18 Filed: 05/26/23 Page 12 of 31 PageID #:36588
Case: 3:17-cv-50107 Document #: 826-18 Filed: 05/26/23 Page 13 of 31 PageID #:36589
Case: 3:17-cv-50107 Document #: 826-18 Filed: 05/26/23 Page 14 of 31 PageID #:36590
Case: 3:17-cv-50107 Document #: 826-18 Filed: 05/26/23 Page 15 of 31 PageID #:36591
Case: 3:17-cv-50107 Document #: 826-18 Filed: 05/26/23 Page 16 of 31 PageID #:36592
Case: 3:17-cv-50107 Document #: 826-18 Filed: 05/26/23 Page 17 of 31 PageID #:36593
Case: 3:17-cv-50107 Document #: 826-18 Filed: 05/26/23 Page 18 of 31 PageID #:36594
Case: 3:17-cv-50107 Document #: 826-18 Filed: 05/26/23 Page 19 of 31 PageID #:36595
Case: 3:17-cv-50107 Document #: 826-18 Filed: 05/26/23 Page 20 of 31 PageID #:36596
Case: 3:17-cv-50107 Document #: 826-18 Filed: 05/26/23 Page 21 of 31 PageID #:36597
Case: 3:17-cv-50107 Document #: 826-18 Filed: 05/26/23 Page 22 of 31 PageID #:36598
Case: 3:17-cv-50107 Document #: 826-18 Filed: 05/26/23 Page 23 of 31 PageID #:36599
Case: 3:17-cv-50107 Document #: 826-18 Filed: 05/26/23 Page 24 of 31 PageID #:36600
Case: 3:17-cv-50107 Document #: 826-18 Filed: 05/26/23 Page 25 of 31 PageID #:36601
Case: 3:17-cv-50107 Document #: 826-18 Filed: 05/26/23 Page 26 of 31 PageID #:36602
Case: 3:17-cv-50107 Document #: 826-18 Filed: 05/26/23 Page 27 of 31 PageID #:36603
Case: 3:17-cv-50107 Document #: 826-18 Filed: 05/26/23 Page 28 of 31 PageID #:36604
Case: 3:17-cv-50107 Document #: 826-18 Filed: 05/26/23 Page 29 of 31 PageID #:36605
Case: 3:17-cv-50107 Document #: 826-18 Filed: 05/26/23 Page 30 of 31 PageID #:36606
Case: 3:17-cv-50107 Document #: 826-18 Filed: 05/26/23 Page 31 of 31 PageID #:36607
